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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN

GUN OWNERS OF AMERICA, INC.,           )
                                       )
GUN OWNERS FOUNDATION,                 )
                                       )                    Case No. 1:18-cv-01429
VIRGINIA CITIZENS DEFENSE              )
LEAGUE                                 )                    Hon. __________________
                                       )
MATT WATKINS,                          )
                                       )                    MOTION FOR PRELIMINARY
TIM HARMSEN, and                       )                    INJUNCTION
                                       )
RACHEL MALONE,                         )                    EXPEDITED CONSIDERATION
                                       )                    REQUESTED
                      Plaintiffs,      )
                                       )                    ORAL ARGUMENT
v.                                     )                    REQUESTED
                                       )
MATTHEW WHITAKER, in his official      )
capacity as Acting Attorney General,   )
of the United States,                  )
                                       )
U. S. JUSTICE DEPARTMENT,              )
                                       )
BUREAU OF ALCOHOL, TOBACCO,            )
FIREARMS AND EXPLOSIVES, and           )
                                       )
THOMAS E. BRANDON, in his official     )
capacity as Acting Director, Bureau of )
Alcohol, Tobacco, Firearms, and        )
Explosives                             )
                                       )
                      Defendants.      )
____________________________________)

             PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION

       Pursuant to Fed. R. Civ. P. 65(a), Plaintiffs hereby move for a preliminary injunction as

set out below, and for the reasons set out in their accompanying Memorandum and Verified

Complaint for Declaratory Injunctive Relief.
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       As set forth in their Memorandum and Complaint, Plaintiffs allege that Defendant ATF’s

noticed regulation, banning the ownership of so-called “bump fire stocks,” exceeds the agency’s

jurisdiction and authority, is arbitrary, capricious, an abuse of discretion, and otherwise not in

accordance with the law. Plaintiffs submit that they meet the standards for the issuance of a

preliminary injunction: they have shown a probability of success on the merits, they will be

irreparably harmed if an injunction does not soon issue, the public interest will be served by

enjoining Defendants’ actions, and Plaintiffs have no adequate remedy at law.

       Pursuant to Local Civil Rule 7(d), counsel for Plaintiffs telephoned Ryan Cobb at the

office of US Attorney for the Western District of Michigan at (616) 808-2031 requesting

concurrence with the relief sought herein by leaving a message. Because a preliminary

injunction presents no monetary risks to Defendants, Plaintiffs request that bond be set at $1.

Fed. R. Civ. P. 65(c). For the reasons stated in the accompanying Memorandum and Complaint,

Plaintiffs pray that the Court grant this motion and preliminarily enjoin Defendants from

implementing the noticed regulation, until a final hearing on the merits. Oral argument is

requested on this motion, because of the complex legal issues involved in this case.

       Pursuant to Local Civil Rule 7(e), Plaintiffs respectfully request an expedited briefing

schedule on this motion, in order to permit this Court to resolve Plaintiff’s motion as quickly as

possible. Time is of the essence in this case. The noticed regulation will go into effect on March

26, 2019, at which time bump stock owners must have either destroyed or surrendered their

property. No doubt, many such persons will not wait until the last minute to do so, at risk of

felony prosecution once the regulation becomes effective. Moreover, Defendants will not be

harmed by an expedited briefing schedule, because the process to enact the noticed regulation


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began in December of 2017, and Defendants have indicated they are aware litigation such as this

would follow enactment.



                                                   Respectfully submitted,

Robert J. Olson                                      /s/ Kerry L. Morgan
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Jeremiah L. Morgan                                 (MI Bar No. 32645)
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Dated: December 26, 2018




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